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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                   Criminal No. 11-305(6)(DSD/LIB)

United States of America,

                 Plaintiff,

v.                                                               ORDER

Lawrence Lalonde Colton,

                 Defendant.




     This matter is before the court upon the pro se motion for

judgment of acquittal and for a new trial by defendant Lawrence

Lalonde Colton.       Based on a review of the file, record and

proceedings herein, and for the reasons stated, the court denies

the motion.

     On August 16, 2012, a jury found Colton guilty of conspiracy

to distribute Oxycodone, Oxymorphone, Hydromorphone and Heroin, in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 846, and

three counts of distribution of Oxymorphone, in violation of 21

U.S.C. §§ 841(a)(1) and 841(b)(1)(C).          After the government closed

its evidence, Colton moved for judgment of acquittal.                    The court

initially reserved decision on the motion, but once the jury

returned its verdict, the motion was denied in a written order on

August 17, 2012.      See ECF No. 971.

     Despite   this    previous   motion      made   at   trial     by    Colton’s

experienced and competent counsel, the court received a handwritten

pro se motion from Colton captioned, “Defendant’s Post-Trial Motion
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for Judgment of Acquittal Pursuant to Rule 29(c) and or for a New

Trial Pursuant to Rule 33(a).”          ECF No. 1075.1        Colton argues that

he was improperly convicted and that the amended superseding

indictment was fatally deficient and defective.                      As an initial

matter, the court notes that it “has no obligation to entertain pro

se motions filed by a represented party.”                    Abdullah v. United

States, 240 F.3d 683, 686 (8th Cir. 2001).                Colton is represented

by counsel, and this alone warrants dismissal of the motion.

     Even if the court were to consider the motion, however, denial

would be warranted.       A motion for judgment of acquittal should be

denied   if,    “after    reviewing     the   evidence      in    the   light      most

favorable      to   the   government,       there    is   substantial      evidence

justifying an inference of guilt as found irrespective of any

countervailing testimony that may be introduced.” United States v.

Rodriguez, 812 F.2d 414, 416 (8th Cir. 1987) (citation omitted).

“The jury’s verdict must be upheld if there is an interpretation of

the evidence that would allow a reasonable-minded jury to find the

defendant guilty beyond a reasonable doubt.”                     United States v.

Maxwell,    363 F.3d 815, 817 (8th Cir. 2004).               For the reasons set

forth in the court’s August 17, 2012, order, denial of this

duplicitous motion would be warranted.               See ECF No. 971.




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       The motion states that defendant moves “by and through his
attorney.”   The court notes, however, that this motion was not
signed by counsel.

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     On a motion for a new trial, “the court may vacate any

judgment and grant a new trial if the interest of justice so

requires.”     Fed. R. Crim. P. 33(a).           “[T]he court must allow the

verdict   to   stand   unless    a    miscarriage      of   justice     may      have

occurred.”     United States v. Coplen, 533 F.3d 929, 931 (8th Cir.

2008) (citation omitted).        In the present case, after a careful

review of the amended superseding indictment and the evidence

adduced at trial, the court determines that no miscarriage of

justice has occurred.     Therefore, denial of Colton’s motion for a

new trial would also be warranted.

     Accordingly, IT IS HEREBY ORDERED that defendant’s motion for

a new trial and judgment of acquittal [ECF No. 1075] is denied.


Dated:    October 25, 2012


                                            s/David S. Doty
                                            David S. Doty, Judge
                                            United States District Court




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